
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 97-1361

                                YVONNE GIL-DE-REBOLLO,

                                Plaintiff - Appellant,

                                          v.

                      THE MIAMI HEAT ASSOCIATIONS, INC., ET AL.,

                               Defendants - Appellees.

                                 ____________________

          Nos. 97-1622
               97-1830

                                YVONNE GIL-DE-REBOLLO,

                                Plaintiff - Appellee,

                                          v.

                      THE MIAMI HEAT ASSOCIATIONS, INC., ET AL.,

                               Defendants - Appellants.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Jos  Antonio Fust , U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Lynch, Circuit Judge,
                                       _____________

                              Cyr, Senior Circuit Judge,
                                   ____________________

                         and DiClerico, Jr.,* District Judge.
                                              ______________

                              
          ____________________

          *  Of the District of New Hampshire, sitting by designation.














                                _____________________

               Kevin G. Little, Jr., with  whom David Efr n and Law Offices
               ____________________             ___________     ___________
          David Efr n were on brief for appellant.
          ___________
               Ricardo  F. Casellas, with whom  Rodr guez &amp; Casellas was on
               ____________________             ____________________
          brief for appellees.



                                 ____________________

                                    March 5, 1998
                                 ____________________








































                                         -2-














                    DICLERICO,  District Judge.   The  plaintiff-appellant,
                    DICLERICO,  District Judge.
                                ______________

          Yvonne Gil Bonar  de Rebollo, was injured  by defendant-appellee,

          Wes Lockard, who  portrays "Burnie," the mascot  of co-defendant-

          appellee, Miami Heat Limited Partnership.1  The plaintiff brought

          a tort action  seeking damages.   In  the first  trial, the  jury

          awarded the plaintiff $10,000 but  the trial court found that the

          verdict was most likely  the result of bias or compromise and set

          it aside.  After a  second trial, the jury awarded the  plaintiff

          $50,000.  The  district court also  awarded the defendants  costs

          which they incurred after an offer  of judgment had been made and

          awarded costs  to the plaintiff  as a prevailing party.   In this

          appeal, the plaintiff  contends that she should have been granted

          a third trial because the  $50,000 damage award was  insufficient

          and  the trial  judge  improperly excluded  evidence.   In  their

          cross-appeal,  the defendants contend that (1) the district court

          erred in granting  a second trial;  (2) given  the fact that  the

          plaintiff ultimately received less than the amount the defendants

          had  proposed in  an  offer  of judgment,  they  are entitled  to

          attorney's fees incurred after the offer; and (3) the trial court

          should not  have awarded the  plaintiff costs  incurred after  an

          offer   of  judgment.    We   agree  with  the  district  court's

                              
          ____________________

          1  Florida Basketball Associates, Inc. is also a defendant to the
          action.  The record does  not make clear the relationship between
          defendant Miami  Heat Limited  Partnership and  defendant Florida
          Basketball   Associates,   Inc.,  but   the   parties  have   not
          distinguished  between  them  on appeal.    Therefore,  the court
          refers   to  the  Miami  Heat  Limited  Partnership  and  Florida
          Basketball Associates,  Inc.  throughout the  remainder  of  this
          opinion collectively as "the Heat."

                                         -3-














          disposition of the case in all respects with the exception of its

          ruling awarding costs to the plaintiff incurred after an offer of

          judgment.  Therefore, we affirm in part and reverse in part.

                          Factual and Procedural Background2
                          Factual and Procedural Background
                          _________________________________

                    On   October  21,  1994,   the  plaintiff  attended  an

          exhibition basketball game between the Miami Heat and the Atlanta

          Hawks at the Roberto  Clemente Coliseum.  She  was seated in  the

          front  row as  part of  a group  that had  received complementary

          tickets to  the game.   She had attended another  exhibition game

          under similar circumstances the prior year.

                    During  a  time-out,  defendant  Lockard,  dressed   as

          Burnie, approached  the plaintiff and  grabbed her hand.   He had

          selected her at random to participate  in a routine he planned to

          perform as  entertainment during the time-out.  When he attempted

          to pull her onto the floor, she  resisted and loudly told him no.

          He persisted, however, grabbing her  left arm with both hands and

          pulling, because in his experience people often were reluctant at

          first  but  later changed  their  minds.   Unbeknownst  to either

          party, the  plaintiff's purse strap  had fallen over the  back of

          her seat  and was  providing additional  resistance to  Lockard's

          efforts.  He pulled the  plaintiff with such force, however, that

          her purse strap broke and as a result she surged forward, falling

          to the  floor.  Lockard took the plaintiff's sudden movement as a

                              
          ____________________

          2   Because the plaintiff  has challenged the sufficiency  of the
          damages awarded by the second  jury, the court recounts the facts
          relevant to damages  in the light most favorable  to the verdict.
          See Molloy v. Blanchard, 115 F.3d 86, 88 (1st Cir. 1997).
          ___ ______    _________

                                         -4-














          sign  that  she had  changed  her  mind about  participating  and

          dragged her by the  arm to the center of the court.   When he saw

          that the plaintiff still did not wish to participate, he  did not

          further coerce her.   She stood up, composed  herself, and walked

          off  the  court  while  he  completed the  routine  alone.    The

          plaintiff was extremely  upset by the incident and  left the game

          prior  to  its  conclusion.   She  felt  as though  she  had been

          humiliated in front of the entire crowd.

                    The plaintiff suffered both  physically and emotionally

          as a result of  the incident.  She felt pain in  her left arm and

          shoulder as well as pain to a lesser extent  throughout her body.

          She also  suffered a  bruise on  her left  thigh.   She did  not,

          however,  break  any  bones or  suffer  any  neurological damage.

          After arriving  at home, the  plaintiff took pain  medication and

          applied ointment to her body.  A few days later, she consulted an

          orthopedist and  a physiatrist  in connection  with her  physical

          injuries.     She  undertook  physical  therapy  which  had  been

          prescribed   for  her.    Surgery  was  neither  recommended  nor

          undertaken.

                    The plaintiff  has been  diagnosed with  post-traumatic

          tendonitis in her left shoulder,  the primary symptom of which is

          pain.   She  continues  to experience  pain in  her left  arm and

          shoulder,   which  affects  her  when  she  engages  in  everyday

          activities.  The  plaintiff takes  pain medication  on a  regular

          basis, and her condition is not expected to improve further.  The

          plaintiff's condition has required her  to modify her behavior in


                                         -5-














          order  to avoid  tasks and  activities that  will exacerbate  the

          pain,   particularly  heavy   lifting   and  certain   repetitive

          movements.  However, she has a pre-existing condition in her back

          that  also  periodically  causes  her  pain  for  which  she  had

          previously sought treatment.  This pre-existing condition imposed

          similar restrictions on her ability to perform certain activities

          such as lifting heavy objects.

                    The  plaintiff consulted  with a  psychiatrist  for her

          emotional  distress.    She  feels  that  the  event  has  had  a

          profoundly  negative effect  on her  mental  and emotional  well-

          being,   which  she  attributes   in  part  to   her  traditional

          conservative  upbringing.  The  plaintiff avoids large gatherings

          and feels that  her privacy and dignity have been  injured by the

          incident.   She now takes  anti-anxiety medications on  a regular

          basis.    The  defendants' expert  testified  that  the emotional

          difficulties experienced by the plaintiff were not permanent, but

          instead  represented a normal  reaction to an  adverse situation.

          Experts for  both parties  agree that  the plaintiff's  condition

          does  not  rise  to  the  level  of  a  recognized  psychological

          disorder.   In addition to  the distress caused by  the incident,

          the  plaintiff  had pre-existing  emotional  stressors, including

          marital difficulty, that could account for some of her dysphoria.

                    Subsequent  to  the  incident,  the  plaintiff  brought

          criminal charges against Lockard.   She felt the need to confront

          the people  who she  felt  had wronged  her.   Lockard was  found

          guilty of misdemeanor  battery.  The plaintiff  also brought this


                                         -6-














          civil  action  against  both  Lockard  and  the  Heat,  Lockard's

          employer.   Her claim, brought pursuant  to the court's diversity

          jurisdiction, alleged that Lockard had negligently injured her in

          violation  of Puerto  Rico law  and that  the Heat,  as Lockard's

          employer, was responsible for that injury.

                    Prior to the  civil trial, the  trial court ruled  that

          evidence   of  Lockard's  criminal  conviction  would  be  unduly

          prejudicial and precluded the plaintiff  from introducing it.  On

          October  30, 1996,  the plaintiff's  case went  to trial  for the

          first  time.   After  approximately  one  and one-half  hours  of

          deliberation, the  jury  returned  a  verdict in  the  amount  of

          $100,000 in  favor of the plaintiff,  but it found  only the Heat

          liable and  not Lockard.   The trial  judge rejected  the verdict

          because  the plaintiff  had pursued  only a theory  of respondeat

          superior liability against the Heat,  and thus the Heat could not

          have been found  liable unless Lockard was  liable as well.   The

          judge  reinstructed  the  jury  on the  issue  of  liability  and

          directed it to continue deliberating.

                    After another hour,  the jury sent a note  to the court

          requesting  guidance  on  the  amount  of  damages  to which  the

          plaintiff was entitled.   The trial judge instructed  the jury to

          review  the instruction on  damages the court  had already given.

          The  jury deliberated  for approximately  another  hour and  then

          returned a  verdict that held  both Lockard and the  Heat liable.

          However, the jury awarded the plaintiff only $10,000 in damages.




                                         -7-














                    The plaintiff  filed a motion  for a new trial  and for

          relief from judgment on November 14, 1996.  On December 16, 1996,

          the  district  court ruled  that  the  jury's  verdict  was  most

          probably an impermissible verdict based on compromise or bias and

          granted a  new trial.   See  Gil de  Rebollo v.  Miami Heat  Ltd.
                                  ___  _______________     ________________

          Partnership, 949  F. Supp.  62, 64-65 (D.P.R.  1996).   The trial
          ___________

          court  reasoned  that three  possibilities  explained the  jury's

          reduction  of the  damage award  to one-tenth  the figure  it had

          selected  initially:     (1)   the  jury   may  have   rationally

          reconsidered its  decision on  damages when it  was sent  back to

          deliberate  further;  (2)  the  jury  may  have  thought  Lockard

          unaccountable for his  interaction with the plaintiff  but wanted

          to compensate her anyway from the corporate deep pocket, and when

          confronted with the requirements of respondeat superior, the jury

          lowered the amount of damages  which Lockard might be required to

          pay, reflecting an improper compromise;  or (3) the jury may have

          thought  that the  plaintiff had  suffered  $100,000 damages  but

          tried to shield Lockard from having to pay because of an improper

          bias in  his  favor, and  when it  realized it  could not  shield

          Lockard,  it  lowered the  amount  of  the  verdict so  that  his

          liability would be  minimized.  See id.  at 64.  The  court found
                                          ___ ___

          that the latter two alternatives, both improper, were more likely

          than the first, which was proper,  and granted a new trial.   See
                                                                        ___

          id. at 65.
          ___

                    The  second trial commenced  on February 10,  1997.  On

          February 14, 1997, the jury returned  a verdict for the plaintiff


                                         -8-














          in the  amount of $50,000, finding that both Lockard and the Heat

          were liable.  The plaintiff again filed a motion for a new trial,

          asserting that the damages were insufficient, but the trial court

          denied the motion.

                    During the course  of the litigation, the  parties made

          several attempts  to settle their  dispute without a trial.   The

          plaintiff's initial  demand in the  case was for $1,000,000.   On

          October 7, 1996, the defendants  made a written offer of judgment

          under  Federal Rule  of Civil  Procedure 68  ("Rule 68")  to have

          judgment  entered against  them in  the amount  of $80,000.   The

          plaintiff  rejected the  offer  and countered  with  a demand  of

          $600,000  and a  public apology.   The  defendants  rejected this

          proposal and the first trial began on October 30, 1996.

                    After the  first trial,  the defendants  made a  second

          offer of judgment  on January 14, 1997, in the amount of $70,000.

          The plaintiff rejected  the offer and countered with  a demand of

          $250,000, which  the defendants rejected.   On January  23, 1997,

          the defendants made a  third offer of judgment  in the amount  of

          $100,000.   The  plaintiff also  rejected  that offer,  demanding

          $180,000.  The  $50,000 verdict obtained by the  plaintiff in the

          second trial was less than all three offers of judgment.

                    After  the second trial, the district court awarded the

          defendants  $8,271.71 for  costs  incurred  after  the  offer  of

          judgment pursuant to Rule 68.   It denied the defendants' request

          for attorney's  fees under  Puerto Rico Rule  of Civil  Procedure

          44.1 ("Rule 44.1"), finding that  the plaintiff had not conducted


                                         -9-














          her case with temerity.  The court awarded the plaintiff costs as

          a prevailing  party under Federal  Rule of Civil Procedure  54 in

          the amount of $7,894.84.

                    At  the  conclusion   of  this  legal  imbroglio,   the

          plaintiff filed  a timely  appeal.   The  defendants have  raised

          several issues on cross-appeal.

                                      Discussion
                                      Discussion
                                      __________

                    The parties raise the following  issues on appeal:  (1)

          the defendants  claim that the trial court  abused its discretion

          by  setting aside  the $10,000  verdict  in the  first trial  and

          granting a new  trial; (2) the plaintiff asserts  that the jury's

          verdict  of $50,000 damages in  the second trial was insufficient

          and the trial court therefore abused its discretion by failing to

          grant her motion for a third trial; (3) the plaintiff claims that

          the  trial  court  impermissibly excluded  evidence  of Lockard's

          criminal misdemeanor  conviction; and  (4) the  defendants assert

          that the  trial court  erred in  its award  of costs  and in  its

          failure  to award  attorney's  fees.    We discuss  these  claims

          seriatim.
          ________

                    I.  Grant of the Second Trial
                        _________________________

                    The  trial court granted  the plaintiff's motion  for a

          second trial  after it  found that the  jury possibly  could have

          properly reconsidered  the amount of  damages to be  awarded, but

          more likely  had acted  for an improper  reason.   The defendants

          argue that  the  trial court  should  have accepted  the  $10,000

          verdict and  erred by granting  the plaintiff's motion for  a new


                                         -10-














          trial.   The  court, they  urge,  should not  have endeavored  to

          choose among the  possible explanations for the  jury's behavior.

          As  long as  there was  a  plausible explanation  for the  jury's

          conduct that was  permissible, the defendants contend,  the trial

          court should not have granted a new trial.

                    This  argument is unpersuasive.  See Phav v. Trueblood,
                                                     ___ ____    __________

          Inc., 915  F.2d 764,  766 (1st  Cir. 1990)  (denial of new  trial
          ____

          reviewed  only  for abuse  of  discretion).   As  the  defendants

          acknowledge, First Circuit precedent  distinguishes between cases

          where a jury's verdict is challenged  as improper based only on a

          damage  award that allegedly fails to  bear any rational relation

          to the  evidence of  the damages presented  at trial,  see, e.g.,
                                                                 ___  ____

          Correa v. Hospital San Francisco, 69 F.3d 1184, 1197-98 (1st Cir.
          ______    ______________________

          1995) (verdict  alleged to  be excessive),  cert. denied,  116 S.
                                                      ____________

          Ct. 1423 (1996); Milone  v. Moceri Family, Inc., 847  F.2d 35, 37
                           ______     ___________________

          (1st Cir. 1988)  (verdict alleged to be insufficient),  and cases

          where  there is  some evidence  of an  improper verdict  based on

          factors other  than the  amount of the  damage award,  see, e.g.,
                                                                 ___  ____

          Skinner v. Total Petroleum, Inc.,  859 F.2d 1439, 1446 (10th Cir.
          _______    _____________________

          1988), cited with approval  in Phav, 915 F.2d at  768; Mekdici ex
                 _______________________ ____                    __________

          rel. Mekdici  v. Merrell  Nat'l Lab., 711  F.2d 1510,  1514 (11th
          ____________     ___________________

          Cir. 1983) (same).   Where the allegation of  an improper verdict

          is  based  solely  on  the   amount  of  the  damage  award,  the

          circumstances under which  a trial court  may overturn a  verdict

          are  more limited.   See,  e.g., CIGNA  Fire Underwriters  Co. v.
                               ___   ____  _____________________________

          MacDonald &amp;  Johnson, Inc.,  86 F.3d 1260,  1267 (1st  Cir. 1996)
          __________________________


                                         -11-














          (grant  of a  new  trial appropriate  where  damages were  easily

          calculable and  damage award  exceeded maximum  value of  damages

          claimed and did not take into account offset to damages); Torres-
                                                                    _______

          Troche v.  Municipality of  Yauco, 873 F.2d  499, 501 &amp;  n.6 (1st
          ______     ______________________

          Cir.  1989) (suggestion that allegedly low damage award indicated

          compromise  verdict was speculation  not meeting heavy  burden of

          showing entitlement to new trial).  However, where evidence of an

          improper verdict exists other than  the amount of the jury award,

          such as when a jury  answers special questions in an inconsistent

          manner,  the trial  court's discretion  to grant  a new  trial is

          broader.   In  such  cases the  court  can  consider all  of  the

          circumstances  surrounding  the  jury's  verdict,  including  the

          amount of  the damage  award, in determining  whether or  not the

          jury reached an improper verdict.  See Phav, 915 F.2d at 768-69.3
                                             ___ ____

                    The  defendants  acknowledge  the  distinction  between

          cases  where the  only evidence  of  a compromise  verdict is  an

          allegedly insufficient  damage award  and cases  where additional

          evidence indicates a  compromise, but they  attempt to cast  this

          case as falling into the  former rather than the latter category.

          However, in  this case the  trial court's  determination did  not

          turn solely on the amount of the verdict that the jury ultimately

          returned.   Rather,  the ten-fold  reduction by  the jury  of its

          initial  award of damages  and the circumstances  surrounding its
                              
          ____________________

          3    Prior First  Circuit  cases,  however,  do not  endorse  the
          proposition  propounded  by  the  defendants that  an  inadequate
          damage award is an indispensable element of a compromise verdict.
          See Phav,  915 F.2d at  768-69 (inadequate damages  are potential
          ___ ____
          evidence of compromise verdict, as are additional factors).

                                         -12-














          determination of Lockard's liability  provided the primary  basis

          for  the trial court's determination that  the verdict as finally

          returned was motivated  by compromise or  sympathy.  The  verdict

          form ultimately  completed by the  jury was free of  any internal

          inconsistency  because it  held Lockard  and the Heat  liable for

          $10,000 damages suffered by the plaintiff.  However, the sequence

          of events preceding  that verdict was properly considered  by the

          trial court  as an indication  that the jury reached  the verdict

          based on compromise or  bias.  See id. at 768  (odd chronology of
                                         ___ ___

          jury  deliberations one "telltale sign of a compromise verdict").

          Therefore,  the trial  court had  more latitude  in this  case in

          exercising its discretion  to overturn the jury's verdict than it

          would have had in a case where the only basis  for the grant of a

          new trial  was the alleged insufficiency of  a damage award.  See
                                                                        ___

          Mekdici, 711 F.2d  at 1513, cited with approval in Phav, 915 F.2d
          _______                     ______________________ ____

          at 768.

                    The  trial court determined that the sequence of events

          leading up to the  jury's final verdict in  the first trial  most

          likely   indicated  that  the   jury  had  reached   its  verdict

          improperly.  The jury initially had assessed $100,000  in damages

          against the Heat but  did not find Lockard liable.   A short time

          after  being told to deliberate further and requesting additional

          guidance the  jury determined that Lockard was liable but reduced

          the amount of damages to $10,000.   Based on the jury's behavior,

          it  was logical  for the trial  court to  conclude that  the jury

          wanted to  give the  plaintiff something but  it did not  want to


                                         -13-














          hold Lockard personally liable for a $100,000 award.  There is no

          indication  that the  trial  judge, who  observed the  trial, the

          timing of the  questions, and the  results of the  deliberations,

          abused  his discretion in  arriving at this  determination.4  See
                                                                        ___

          Phav, 915 F.2d  at 766.   We  therefore decline  to overturn  the
          ____

          trial court and to reinstate the initial $10,000 verdict.

                    II.  Insufficiency of the Jury Verdict
                         _________________________________

                    The plaintiff's main  contention on appeal is  that the

          trial court erred by failing to grant  her motion for a new trial

          following  the second  verdict, on  the grounds  that the  damage

          award  of  $50,000  is  insufficient.   As  noted  above,  it  is

          comparatively more  difficult  to justify  overturning  a  jury's

          verdict where the  only evidence that something has  gone awry is

          an allegedly  insufficient damages award.   Indeed, the  jury "is

          free to run the whole gamut  of euphonious notes -- to  harmonize

          the verdict at the highest or lowest points for which there  is a

          sound evidentiary predicate, or anywhere in between -- so long as

          the end result does  not violate the conscience  of the court  or

          strike such a  dissonant chord that justice would  be denied were

          the judgment permitted to stand."   Milone, 847 F.2d at 37.   "At
                                              ______

          best,  plaintiff's  verdicts  in personal  injury  cases  are not

          models  of  mathematical  exactitude.    Thus,  the fact  that  a

          particular award  is a few dollars long or short would rarely (if

          ever) translate into a manifest  miscarriage of justice."  Id. at
                                                                     ___

                              
          ____________________

          4    In  reaching  this  decision we  intend  no  comment  on the
          sufficiency of the $10,000 damage award.

                                         -14-














          41 n.7.  We  view the evidence in the light most favorable to the

          jury's verdict,  see Molloy  v. Blanchard, 115  F.3d 86,  88 (1st
                           ___ ______     _________

          Cir. 1997), and will only overturn the jury's award and the trial

          judge's  ensuing  refusal to  grant  a  new  trial for  abuse  of

          discretion, see Correa, 69 F.3d at 1197.
                      ___ ______

                    The  record  demonstrates  that  most  of  the  damages

          suffered by the plaintiff were intangible.  "An appellate court's

          normal  disinclination to second-guess a jury's evaluation of the

          proper amount of damages is magnified where, as here, the damages

          entail a monetary  valuation of intangible losses,  and the trial

          judge, having seen and heard the witnesses at first hand, accepts

          the  jury's  appraisal."   Id.   Even  accepting  the plaintiff's
                                     ___

          complaints uncritically, which the jury  was not required to  do,

          her  primary claims  for damages  are that  (1) she  suffers from

          pain; (2) the quality of her life has been reduced because of her

          pain and because of the measures she must take to avoid pain; and

          (3) her  dignity, self-image, and  sense of well-being  have been

          adversely affected by the incident.

                    In addition to the intangible nature of the plaintiff's

          injuries, the  evidence in this  case permitted the jury  to find

          that her injuries  were not as severe  as she claimed.   The jury

          could also have found that  most of the plaintiff's physical pain

          was caused not by the incident in question but by the plaintiff's

          failure to  obey her doctor's  orders not to move  heavy objects,

          which  orders were given in connection with her pre-existing back

          injury.    The jury  was  free  to  disbelieve  as  much  of  the


                                         -15-














          plaintiff's expert and lay testimony as it wished.  In short, the

          plaintiff has  provided no support  for the proposition  that the

          jury's $50,000 verdict was so  far beyond the range of acceptable

          verdicts, based  on  the evidence  presented  at trial,  that  it

          constituted  a manifest  miscarriage of  justice.   The  district

          court did not abuse  its discretion by  denying her motion for  a

          new trial.

                    III.  Failure to Admit Evidence of Lockard's Conviction
                          _________________________________________________

                    The  trial  court  ruled  that  evidence  of  Lockard's

          criminal  misdemeanor  conviction  was inadmissible  because  its

          prejudicial effect substantially outweighed its probative  value.

          See Fed.  R. Evid. 403.   The plaintiff asserts  that this ruling
          ___

          was error.  We review the district court's determination that the

          evidence  of Lockard's conviction  should have been  excluded for

          abuse of discretion.   See Kowalski v.  Gagne, 914 F.2d  299, 306
                                 ___ ________     _____

          (1st Cir. 1990).

                    The plaintiff places undue reliance on Kowalski, a case
                                                           ________

          which stands  for the  proposition  that the  district court  has

          discretion  to admit evidence  such as this.   See  id.  However,
                                                         ___  ___

          Kowalski  does not  support  the notion  that the  district court
          ________

          abused  its discretion  in this  case  by failing  to admit  this

          evidence.  Indeed, as Kowalski makes clear,  the district court's
                                ________

          decision  that the  evidence was  substantially more  prejudicial

          than probative was well within its discretion.  See id.
                                                          ___ ___

                    Here,  the   jurors  were  presented   with  sufficient

          evidence to gauge the seriousness  of Lockard's actions and their


                                         -16-














          effect  on the  plaintiff.  In  addition to the  testimony of the

          plaintiff  and other  witnesses,  the episode  was recorded  by a

          television camera and the tape was made available for the jury to

          watch.   The parties  stipulated that Lockard  was portraying the

          mascot Burnie  throughout the  incident.  The  jury did  not need

          evidence of Lockard's criminal  conviction to assess his  role in

          the  incident.  Under  the circumstances, admission  of Lockard's

          criminal conviction would have allowed the jury to substitute the

          judgment reached in the criminal proceeding for its own.

                    Furthermore, even assuming  arguendo that the exclusion
                                                ________

          of the evidence was error, the error had no effect on the outcome

          of the  case.  The only  issue on which  Lockard's conviction was

          probative was  the  issue of  his liability  for the  plaintiff's

          injury.   Both  juries found  Lockard liable for  the plaintiff's

          injuries.   Lockard's  conviction had  relevance  neither to  the

          issue of  the plaintiff's injuries  nor to the amount  of damages

          necessary to compensate her for those injuries.

                    The   plaintiff's   reliance   on   Kowalski  for   the
                                                        ________

          proposition that a criminal conviction is, as a matter of course,

          relevant to  the issue of  damages in an  ensuing civil trial  is

          also misplaced.   Kowalski  dealt with  a Massachusetts  wrongful
                            ________

          death statute  which provides  that damages  should be  "assessed

          with reference to  the degree of [the  defendant's] culpability."

          914 F.2d at 306.  For  that reason, the defendant's conviction of

          the crime of  second degree murder  was relevant to the  issue of

          culpability,  and  thus the  issue  of  damages.   See  id.   The
                                                             ___  ___


                                         -17-














          plaintiff's cause of  action here was for negligence  and she was

          entitled only  to compensatory damages.   For these  reasons, the

          district court did  not abuse its discretion by  failing to admit

          evidence  of Lockard's  conviction,  and  the  plaintiff  is  not

          entitled to a new trial.

                    IV.  The Award of  Costs &amp; Failure to  Award Attorney's
                         __________________________________________________
                         Fees
                         ____

                    The trial court  awarded the defendants costs  incurred

          after their  first offer  of judgment but  declined to  award the

          defendants their  attorney's fees.   It found that  the plaintiff

          had  not  been obstinate  at any  point in  the proceedings.   In

          addition, it awarded  the plaintiff costs as a  prevailing party.

          The  defendants contend  that  (1) the  district  court erred  by

          failing to  award attorney's  fees  incurred after  the offer  of

          judgment; (2) the  court erred in finding that  the plaintiff was

          not obstinate  under Rule 44.1; and  (3) the court erred  when it

          awarded  the  plaintiff  costs  incurred  after  their  offer  of

          judgment.  We discuss these claims seriatim.
                                             ________

          A.  Attorney's Fees Incurred After the Offer of Judgment
          ________________________________________________________

                    The trial  court declined the defendants'  request that

          they  be awarded attorney's  fees that were  incurred after their

          offer of judgment.  The defendants assert that it was error to do

          so.  Resolution of this  issue requires that we carefully analyze

          the  relationship between two  rules of civil  procedure, Federal

          Rule  68 and  Puerto Rico  Rule  35.1, both  of which  ostensibly

          govern the situation at hand.



                                         -18-














                    In  Erie Railroad  Co. v.  Tompkins,  the United  State
                        __________________     ________

          Supreme Court  set forth the  general doctrine  by which  federal

          courts in diversity  cases determine whether state or federal law

          will apply to a controversy.   See 304 U.S. 64 (1938).   In Hanna
                                         ___                          _____

          v. Plumer, the  Supreme Court set forth the  test for determining
             ______

          how a court should choose between a federal procedural rule and a

          conflicting  state  substantive rule.    See  380  U.S. 460,  471
                                                   ___

          (1965).  Where  a Federal Rule is "sufficiently  broad to control

          the  issue" but conflicts with a state law, the court applies the

          Federal  Rule unless  it  transgresses the  limits  of the  Rules

          Enabling Act, 28 U.S.C.   2072, or the Constitution.  Id. at 471-
                                                                ___

          72; see  also Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29-
              _________ __________________    ___________

          31 (1988).5   In most cases where a conflict  exists, the Federal
                              
          ____________________

          5   Since the Hanna decision, the Supreme Court has clarified the
                        _____
          focus of the  inquiry for determining whether  a state law  and a
          Federal Rule conflict.  Early cases indicated the necessity for a
          "direct collision."  See, e.g.,  Walker v. Armco Steel Corp., 446
                               ___  ____   ______    _________________
          U.S.  740, 749-51  (1980); Hanna,  380 U.S.  at 472.   Subsequent
                                     _____
          cases make clear,  however, that the "direct  collision" analysis
          does not involve the narrowest  possible reading of the  relevant
          Federal Rule.  See Stewart, 487 U.S.  at 26 n.4; Walker, 446 U.S.
                         ___ _______                       ______
          at  751  &amp;  n.9.    In Stewart,  the  Supreme  Court  stated  the
                                 _______
          following:

                      Our  cases at  times  have referred  to the
                    question  at this stage of the analysis as an
                    inquiry  into  whether  there  is  a  "direct
                    collision"  between  state and  federal  law.
                    Logic  indicates,  however,   and  a  careful
                    reading  of the  relevant passages  confirms,
                    that this  language is  not meant  to mandate
                    that federal  law and state  law be perfectly
                    coextensive  and  equally applicable  to  the
                    issue at hand; rather, the "direct collision"
                    language, at least where the applicability of
                    a federal  statute is at issue, expresses the
                    requirement  that  the   federal  statute  be
                    sufficiently  broad  to  cover the  point  in

                                         -19-














          Rule will be applied because  the Federal Rules are presumptively

          valid.  See Burlington N. R.R. v. Woods, 480 U.S. 1, 5 (1987); 17
                  ___ __________________    _____

          James Wm. Moore  et al., Moore's Federal Practice   124.03[1] (3d
                                   ________________________

          ed. 1997).

                    Rule 35.1 of the  Puerto Rico Rules of Civil  Procedure

          ("Rule  35.1")  addresses offers  of judgment.   It  provides, in

          pertinent part, as follows:

                      At  least ten  (10) days  before  the trial
                    begins, a party defending against a claim may
                    serve  upon the  adverse  party  an offer  to
                    allow judgment  to be taken  against him  for
                    the  money  or  property  or  to  the  effect
                    specified  in  his  offer,  with  costs  then
                    accrued.  . . .   If  [the offer  is rejected
                    and]  the judgment  finally  obtained by  the
                    offeree is not more favorable than the offer,
                    the offeree must pay  the costs, expenses and
                    attorney's fees incurred  after the making of
                    the offer. 

          P.R. Laws Ann. tit. 32, App. III, Rule 35.1 (1983).   The Supreme

          Court of  Puerto Rico has  held that  this rule applies  not only

          when  the plaintiff/offeree  prevails  at  trial  and  attains  a

          verdict that is less than the offer of judgment but also when the

          plaintiff/offeree loses the suit in its entirety.  See Ganapolsky
                                                             ___ __________

          v.  Keltron Corp.,  823 F.2d  700,  701 (1st  Cir. 1987)  (citing
              _____________

                              
          ____________________

                    dispute.   It  would make  no  sense for  the
                    supremacy  of federal  law to  wane precisely
                    because there  is  no state  law directly  on
                    point.

          487 U.S. at 26 n.4 (citations omitted).  Subsequent First Circuit
          cases   confirm  that  the  relevant  inquiry  for  evaluating  a
          potential conflict is  whether the Federal Rule  is "sufficiently
          broad  to control the issue."   See Commercial  Union Ins. Co. v.
                                          ___ __________________________
          Walbrook Ins. Co.,  41 F.3d 764, 772  (1st Cir. 1994);  Daigle v.
          _________________                                       ______
          Maine Med. Ctr., Inc., 14 F.3d 684, 689 (1st Cir. 1994).
          _____________________

                                         -20-














          Hermandad Unida  de Carpinteros y Ebanistas de America v. V. &amp; E.
          ______________________________________________________    _______

          Eng'g Constr. Co., 115 D.P.R. 711 (1984)).
          _________________

                    Rule 68 provides, in pertinent part, as follows:

                      At  any time more  than 10 days  before the
                    trial  begins,  a party  defending  against a
                    claim may  serve  upon the  adverse party  an
                    offer to  allow judgment to be  taken against
                    the defending party for the money or property
                    or to the effect specified in the offer, with
                    costs then accrued.  . . .  If [the  offer is
                    rejected and]  the judgment  finally obtained
                    by the offeree is not more favorable than the
                    offer,  the   offeree  must  pay   the  costs
                    incurred after the making of the offer.

          Fed. R. Civ.  P. 68.  Rule 68 does not itself supply a definition

          of  "costs."  Instead, it incorporates  the definition of "costs"

          found in  the relevant  substantive statute  of the  jurisdiction

          whose substantive law  applies to the case.   Therefore, when the

          definition   of  "costs"  in  the  relevant  substantive  statute

          includes  attorney's  fees,  attorney's fees  incurred  after the

          offer of  judgment must  be paid by  the offeree.   See  Marek v.
                                                              ___  _____

          Chesny, 473 U.S.  1, 9 (1985).  In addition, Rule 68 applies only
          ______

          when a plaintiff/offeree  obtains an award that is  less than the

          offer of judgment,  and not when the  plaintiff/offeree loses the

          suit in its entirety.  See  Delta Air Lines, Inc. v. August,  450
                                 ___  _____________________    ______

          U.S. 346, 352 (1981); Ganapolsky, 823 F.2d at 701-02.
                                __________

                    Rule  68  would  not allow  the  defendants  to recover

          attorney's  fees in this  case unless the  underlying substantive

          law defines attorney's fees  as a part of costs.   See Marek, 473
                                                             ___ _____

          U.S. at 9.  The substantive law underlying this action  is Puerto

          Rico's law of negligence.  See P.R. Laws Ann. tit. 31,   5141 ("A
                                     ___


                                         -21-














          person who by an act or omission causes damage to another through

          fault  or negligence  shall be  obliged to  repair the  damage so

          done.").  Puerto  Rico law makes  no provision for  the award  of

          attorney's fees as  any part of "costs"  in such cases.   Compare
                                                                    _______

          Rule 44.1(a)  ("Costs shall be  allowed to the  prevailing party,

          except  when otherwise directed  by law or  by these rules.   The

          costs  which may  be  allowed  by the  court  are those  expenses

          necessarily  incurred in  prosecuting  an  action  or  proceeding

          which, according to law or to the discretion of the court, one of

          the parties should  reimburse to the other."),  with Rule 44.1(d)
                                                          ____

          ("In  the event any party or  its lawyer has acted obstinately or

          frivolously, the  court shall,  in its  judgment, impose on  such

          person the payment  of a sum for attorney's fees  which the court

          decides corresponds to such conduct.").  

                    The only other  source of  Puerto Rico  law that  might

          supply a  definition of  costs that includes  attorney's fees  is

          Rule 35.1 itself.6   However, Rule 35.1  allows for the award  of

          "costs, expenses and  attorney's fees."  P.R. Laws  Ann. tit. 32,

          App. III,  Rule 35.1 (1983).  On its  face, the rule treats costs

          and  attorney's  fees  as  separate  items;  it  does not  define

          attorney's  fees as  part of  costs.   See id.;  see also,  e.g.,
                                                 ___ ___   ________   ____

          Knight v. Snap-On Tools Corp., 3 F.3d 1398, 1405 (10th Cir. 1993)
          ______    ___________________
                              
          ____________________

          6   We  accept, arguendo,  the proposition  that the  Puerto Rico
                          ________
          Rules of Civil  Procedure may supply substantive  legal standards
          in some  circumstances.   See Ganapolsky, 823  F.2d at  702 (Rule
                                    ___ __________
          35.1); V lez v. Crown Life Ins. Co., 599 F.2d 471, 474  (1st Cir.
                 _____    ___________________
          1979) (earlier  enactment of  current Rule  44.1); Pan Am.  World
                                                             ______________
          Airways  v. Ramos,  357 F.2d  341, 342  (1st Cir.  1966) (earlier
          _______     _____
          enactment of current Rule 44.1).

                                         -22-














          ("[T]he fee-shifting provision clearly identifies attorney's fees

          separately from  costs."); Oates v.  Oates, 866 F.2d  203, 206-07
                                     _____     _____

          (6th Cir. 1989).  Therefore,  the "costs" to which the defendants

          would be entitled under Rule 68  are those detailed in 28  U.S.C.

            1920, which do not include attorney's fees.

                    Rule 35.1 and  Rule 68  both ostensibly  apply to  this

          case and  would result in a different award.7   The two rules are

          in  "direct  collision"  despite  the  fact  that  they  are  not

          "perfectly coextensive" because Rule 68 is "sufficiently broad to

          cover the point  in dispute."  See  Stewart, 487 U.S. at  26 n.4;
                                         ___  _______

          Burlington, 480  U.S. at  4-5.  Compare  Aceves v.  Allstate Ins.
          __________                      _______  ______     _____________

          Co., 68 F.3d 1160, 1167-68  (9th Cir. 1995) (Rule 68  and federal
          ___

          law on expert witness fee compensation controlled despite similar

          California offer  of  judgment  law  and  conflicting  California

          expert  witness  law), with  S.A. Healy  Co. v.  Milwaukee Metro.
                                 ____  _______________     ________________

          Sewerage Dist., 60 F.3d 305, 310 (7th Cir. 1995) (Rule 68  not in
          ______________

          direct  conflict   with  Wisconsin  statute   governing  rejected

          settlement  offers  by  plaintiffs), and  Tanker  Mgm't,  Inc. v.
                                               ___  ____________________

          Brunson,  918 F.2d 1524,  1528 (11th Cir.  1990) (Rule  68 not in
          _______

                              
          ____________________

          7  The defendants urge, based on our decision in Ganapolsky, that
                                                           __________
          the district  court should have  applied Rule 35.1 to  award them
          attorney's fees.  See 823 F.2d at 702.   Ganapolsky, however, did
                            ___                    __________
          not involve  an actual  conflict between Rule  68 and  Rule 35.1.
          The  defendant in  Ganapolsky prevailed  because the  plaintiff's
                             __________
          case was dismissed  as a sanction.   See id. at 701.   Therefore,
                                               ___ ___
          Rule 68  did not apply.   See Delta  Air Lines, 450  U.S. at 352;
                                    ___ ________________
          Ganapolsky,  823 F.2d at  701-02.  Rule 35.1,  on the other hand,
          __________
          did apply.  See id. at 701 (citing Hermandad).  This case differs
                      ___ ___                _________
          from  Ganapolsky, because here  the plaintiff received  a verdict
                __________
          less favorable  than the defendants'  offer of judgment  and thus
          Rule 68 applies.

                                         -23-














          "direct  collision"  with  Florida statute  governing  attorney's

          fees, offers  of judgment, and  settlement offers).   The parties

          have not suggested and the  court cannot discern any infirmity in

          Rule 68  sufficient  to defeat  the presumption  of validity  and

          constitutionality mandated  by Burlington Northern  Railroad, 480
                                         _____________________________

          U.S. at 5.  See  S.A. Healy Co., 60 F.3d at 312  ("[T]here cannot
                      ___  ______________

          be  any doubt  that Rule  68  is within  the scope  of  the Rules

          Enabling  Act.").   Therefore, Rule  68, rather  than Rule  35.1,

          applies  in this  case and  the defendants  are entitled  only to

          costs.   The district court did not err  in refusing to award the

          defendants their attorney's fees as part of costs.

          B.  Obstinacy
          _____________

                    The district  court found  that the  plaintiff was  not

          obstinate under  Rule 44.1(d)  and declined  to award  attorney's

          fees.8    A  finding  of  obstinacy  is  reviewed  for  abuse  of

          discretion.  See De Le n L pez v. Corporaci n Insular de Seguros,
                       ___ _____________    ______________________________

          931 F.2d 116,  126-27 (1st Cir. 1991).   The defendants urge that

          the  plaintiff's conduct  was obstinate  because  she refused  to





                              
          ____________________

          8  Rule 44.1(d) provides that:

                      In  the event any  party or its  lawyer has
                    acted obstinately  or frivolously,  the court
                    shall, in its judgment, impose on such person
                    the  payment  of a  sum  for attorney's  fees
                    which the  court decides corresponds  to such
                    conduct.

          P.R. Laws Ann. tit. 32, App. III, Rule 44.1(d) (Supp. 1992).

                                         -24-














          accept  multiple  offers  of  judgment  which  they  assert  were

          reasonable.9  The fact that the plaintiff was  eventually awarded

          less than  the amount of  the offers, the defendants  contend, is

          evidence  of their reasonableness.   The  defendants ask  that we

          adopt a rule  that failure to accept  an offer of judgment,  when

          the verdict at  trial turns  out to  be less than  the offer,  be

          considered obstinate per se.  
                               ______

                    The  presumption  requested  by  the  defendants  lacks

          support in Puerto  Rico law,  and we  decline to adopt  it.   The

          district  court judge,  who  observed  the  proceedings  as  they

          unfolded, made  a finding that  the plaintiff was  not obstinate.

          Because  we find  no evidence  that  the trial  judge abused  his

          discretion  in that  determination, we  decline  to overturn  the

          district court on this issue.

          C.  Plaintiff's Expert Fees Incurred After the Offer of Judgment
          ________________________________________________________________

                    The  defendants finally contend that the court erred by

          awarding the  plaintiff expert fees  incurred after the  offer of

          judgment.  Such an award  expressly contravenes the terms of Rule

          68, which provides that, if an offer of  judgment is rejected and

          "the  judgment  finally  obtained  by  the  offeree  is not  more

          favorable than the offer, the offeree must pay the costs incurred

          after  the making  of the  offer."   Fed.  R.  Civ. P.  68.   The

          district  court  erred  in  making  this  award.    Although  the
                              
          ____________________

          9   The defendants argue  that the plaintiff was  obstinate under
          the standards of either Rule 44.1 or Rule 35.1.  However, because
          we  have determined that Rule  35.1 does not  apply in this case,
          see section  IV.A supra,  we consider  here only  the defendants'
          ___               _____
          argument with respect to Rule 44.1.

                                         -25-














          plaintiff did  not distinguish  between costs  incurred pre-  and

          post-offer,  the  defendants  have only  contested  the  award of

          $3,950 paid  for the testimony of two  experts at the two trials.

          Because  such amounts were  clearly incurred  after the  offer of

          judgment  and  the  defendants  have  not  challenged  the  other

          components of the trial court's initial award of costs, we reduce

          the plaintiff's award of costs by that amount.

                                      Conclusion
                                      Conclusion
                                      __________

                    To conclude,  we find the parties'  remaining arguments

          and claimed errors  to be without merit and  unworthy of extended

          discussion.   For the reasons  stated above, the judgment  of the

          district court is affirmed as  to the grant of the  second trial,
                            affirmed
                            ________

          the exclusion of evidence of Lockard's conviction, the refusal to

          grant a third trial, and the refusal to grant attorney's  fees as

          part of costs  incurred after the first  offer of judgment.   The

          district court's award  to the plaintiff of costs  incurred after

          the offer of judgment  in the amount  of $3,950 is reversed,  and
                                                             reversed
                                                             ________

          the plaintiff's award  of costs shall be reduced  by that amount.

          Because the plaintiff's appeal was wholly without merit, costs of

          the appeal are awarded to the defendants.














                                         -26-









